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                 EXHIBIT D
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19 January 2023

Via Electronic Mail

Integrity Payments Group
Attn: Debra LeJeune
5865 Ridgeway Center Parkway Ste 300
Memphis TN 38120

Re: Letter of Intent for ACH Program

This letter of intent ("LOI") sets out the principal terms of building and supporting an ACH program (“Transaction”)
between the Bank of Orrick, with an address of 113 E South Front Street, Orrick, MO 64077, (“Orrick” or the “Bank”)
and Integrity Payments Group, with an address of 433 Central Ave, St Petersburg, FL 33701 (“Integrity” or the
“Partner”). The Bank and Integrity may be referred to herein, individually, as a “Party” or, collectively, as the
“Parties”.

1. Non‐Binding. Except for the provisions of Section 4, Section 5, Section 6, and Section 7, this LOI is not binding
   on the Parties; it is only an expression of basic terms and conditions that the Parties presently intend to
   incorporate in a formal written agreement that will govern the Transaction ("Definitive Agreement"). No
   binding agreement shall exist with respect to the Transaction unless and until the Definitive Agreement has
   been duly executed and delivered by both Parties. The Parties shall enter into negotiations with the objective
   of executing the Definitive Agreement.

2. Sponsorship. It is the present intention of the Parties that, upon execution of the Definitive Agreement, Partner
   would provide the services set out in the attached Exhibit A ("Services"). The Definitive Agreement shall contain
   covenants, conditions, indemnities, representations, and warranties as the Parties shall mutually agree.

3. Term and Termination. This LOI will automatically terminate and be of no further force and effect upon the
   earlier of (i) execution of the Definitive Agreement by Partner and Bank, (ii) a written mutual agreement
   executed by Partner and Bank, and (iii) May 31, 2023. Notwithstanding anything in the previous sentence,
   Section 4, Section 5, Section 6, and Section 7 shall survive the termination or expiration of this LOI and the
   termination or expiration of this LOI shall not affect any rights a Party has with respect to the breach of this LOI
   by the other Party prior to such termination or expiration.

4. Governing Law. This LOI shall be governed by and construed in accordance with the internal laws of the State
   of Missouri, without giving effect to any choice or conflict of law provision or rule (whether of the State of
   Missouri or any other jurisdiction) that would cause the application of laws of any jurisdiction other than those
   of the State of Missouri.

5. Confidentiality. This LOI, the matters discussed herein, and information provided by one Party to the other in
   connection herewith (collectively, "Information") are confidential and shall not be disclosed by the receiving
   Party without the prior written consent of the other, except to the extent that disclosure is required by law.
   When disclosure is required, the Party making the disclosure shall provide notice of the intended disclosure to
   the other Party and shall take all reasonable steps to limit the extent of the disclosure to the minimum required
   to comply with its legal obligations. Neither party will pursue or engage in any transaction or take any other
   action, whether directly or indirectly, that would have the purpose or effect of avoiding or circumventing their
   respective obligations under this Section of this LOI. Neither Party shall have any obligation with respect to any
   Information that is or becomes publicly available without fault of the Party receiving the Information.




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6. No Third‐Party Beneficiaries. Nothing herein is intended or shall be construed to confer upon any person or
   entity other than the Parties hereto and their successors or permitted assigns, any rights or remedies under or
   by reason of this LOI.

7. Expenses. Each of the Parties shall bear its respective costs, charges, and expenses for the business review,
   preparation, and negotiation of the Definitive Agreement or incurred in connection with the transactions
   contemplated by this LOI, including, but not limited to, fees of their respective counsel, accountants, and other
   advisors or consultants.

8. Miscellaneous. Neither this LOI nor any rights or obligations hereunder may be assigned, delegated, or
   conveyed by either Party without the prior written consent of the other Party. This LOI may be executed in
   counterparts, each of which shall be deemed to be an original, but all of which together shall constitute one
   agreement. The headings of the various sections of this LOI have been inserted for reference only and shall not
   be deemed to be a part of this LOI.

9. Public Announcements. The Parties agree to not make any public announcements regarding the proposed
   Transaction prior to the execution of the Definitive Agreement without the prior written consent of the other
   Party. If at any time prior to the execution of the Definitive Agreement a Party is legally required to disclose the
   existence of the proposed Transaction, before such disclosure such Party shall notify the other Party in writing.

                                            [SIGNATURE PAGE FOLLOWS]




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                                                 Very truly yours,

                                                 BANK OF ORRICK


                                                By:
                                                Chris Bornheimer
                                                CEO



If you are in agreement with the terms set forth above and wish to proceed with negotiating the Definitive Agreement
for the proposed Transaction on that basis, please sign this LOI in the space provided below and email an
electronically executed copy to chrisb@bankoforrick.com.


                                                Agreed to and accepted:

                                                 INTEGRITY PAYMENTS GROUP


                                                 By:
                                                 Debra LeJeune
                                                 CEO




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                                                   EXHIBIT A

                                      FOR DISCUSSION PURPOSES ONLY

Bank:              Bank of Orrick

Partner:           Integrity Payments Group LLC

Program Outline: The Bank’s duties shall include the Bank Sponsorship program for the purposes of the
                  processing of ACH transactions and wire transfers on the Bank’s operating system/tech
                  partner on behalf of Integrity.
                   Integrity’s primary obligations will be as follows:
                       •   Assist in developing Orrick’s policies and procedures; including but not limited to
                           OFAC, AML, Complaint, Privacy, etc.
                       •   Provide sales, marketing, business development strategies and execution
                       •   Support branding and program awareness
                       •   Originate sales to diversified businesses and industries other than only short‐term
                           online lenders and those involved in the tribal lending industry
                       •   Support Cross selling and marketing additional bank products and bank referrals as
                           requested by Bank
                       •   Provide strategies to maintain margins and sales based on value
                       •   Assist in program risk mitigation and parameters based on program overall with
                           each merchant
                       •   Assist in all aspects of program foundation and structure
                       •   Provide program strategy and execute in coordination and approval of bank
                       •   Provide complete vetting and packaging of each merchant submission
                       •   Each program application package will have a specific check list, package
                           components and will include an executive summary memo with all credit criteria
                           and IPG recommendations. All documents and checklists will be based on program
                           guidelines as defined by Orrick and Integrity. Completed package will be submitted
                           to Bank for final approval
                       •   Actively originate, manage, monitor, and service each account in coordination with
                           bank associates/account manager/risk team
                       •   Participate in all bank training and credit meetings as requested
                       •   Manage a program score card to assure alignment and program results are meeting
                           expectations and pivot as needed
                       •   Actively promote bank deposit accounts for Integrity clients, assuming the deposit
                           capabilities serve the clients’ needs

Term:              Two (2) years with a mutual option for an additional one (1) year terms thereafter. Early
                   termination (without penalty) permitted in certain defined circumstances.

Revenue Share:    •   Net Revenue will be split 45% to Integrity, 55% to the Bank. “Net Revenue” is defined as
                       Gross Revenue charged to the client for ACH processing (to include any per transaction,
                       per file, or other ACH or Wire related charges) less charges from any payment
                       processing platform, technology platform, software, Federal Reserve, Nacha, RTP, Fed
                       Now, or any other charge related to the processing of the client transaction. This is not
                       to include general bank overhead, including payment processing staff, computer
                       hardware, rent, or other non‐direct overhead.




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                •   The Net Revenue split could be revisited or renegotiated as deemed appropriate by the
                    Bank and Integrity once the Bank has full digital banking capabilities, specifically a fully
                    developed digital deposit platform.
                •   The Bank expects net ACH margins to be at a minimum subject to any adjustments made
                    for specific merchant needs as mutually agreed by the parties:
                         o High risk clients of $0.35
                         o Mid risk clients of $0.20
                         o Low risk clients of $0.10
                •   The Bank and Integrity will discuss a share or revenue clawback capability for any
                    potential loss related to anything Integrity has control over, potentially including losses
                    related to legal, network, or regulatory fines or disputes if a portion of the root cause
                    was directly caused by Integrity or an Integrity client.

Exclusivity:    • The Bank agrees to a 12‐month exclusivity from the date of the agreement relating to
                  the short‐term online lender or tribal lenders, subject to an extension as mutually
                  agreed upon by the Parties in the Definitive Agreement. The foregoing exclusivity does
                  not include (1) any clients that have a Banking as a Service (“BaaS”) relationship with
                  the Bank prior to Bank and Integrity entering into the Definitive Agreement, or (2) clients
                  referred to Bank through any of its BaaS relationships outside of Integrity.
                • Any clients referred directly by Integrity to Bank prior to the Parties executing the
                  Definitive Agreement are recognized to be Integrity clients for the purpose of the
                  Definitive Agreement.
                • Any client directed or referred to the Bank through Integrity or partners that may reach
                  out directly to the Bank would be considered an Integrity client.




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